                   Case 4:19-cv-01760 Document 13 Filed on 05/13/19 in TXSD Page 1 of 2
                                   U.S. District Court [LIVE]
                                Western District of Texas (Pecos)
                         CIVIL DOCKET FOR CASE #: 4:19−cv−00013−DC

Sanderlin v. Alpha Services, LLC                                            Date Filed: 03/25/2019
Assigned to: Judge David Counts                                             Jury Demand: Defendant
Cause: 29:201 Denial of Overtime Compensation                               Nature of Suit: 710 Labor: Fair Standards
                                                                            Jurisdiction: Federal Question
Plaintiff
Larry Sanderlin                                             represented by Don Foty
on Behalf of Himself and on Behalf of All Other                            Kennedy Hodges LLP
Similarly Situated                                                         4409 Montrose Blvd., Suite 200
                                                                           Houston, TX 77006
                                                                           (713) 523−0001
                                                                           Fax: (713) 523−1116
                                                                           Email: dfoty@kennedyhodges.com
                                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Alpha Services, LLC                                         represented by Amber Lea Karns
                                                                           Munsch Hardt Kopf & Harr, PC
                                                                           700 Milam Street
                                                                           Suite 2700
                                                                           Houston, TX 77002−2806
                                                                           7132221470
                                                                           Fax: 7132221475
                                                                           Email: akarns@munsch.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED


 Date Filed                 #        Docket Text

 03/25/2019                     Ï1   COMPLAINT ( Filing fee $ 400 receipt number 0542−11919465). No Summons
                                     requested at this time, filed by Larry Sanderlin. (Attachments: # 1 Consent Form of
                                     Larry Sanderlin, # 2 Civil Cover Sheet)(Foty, Don) (Entered: 03/25/2019)

 03/25/2019                     Ï    Case assigned to Judge David Counts. CM WILL NOW REFLECT THE JUDGE
                                     INITIALS AS PART OF THE CASE NUMBER. PLEASE APPEND THESE JUDGE
                                     INITIALS TO THE CASE NUMBER ON EACH DOCUMENT THAT YOU FILE IN
                                     THIS CASE. (ab1) (Entered: 03/27/2019)

 03/26/2019                     Ï2   REQUEST FOR ISSUANCE OF SUMMONS by Larry Sanderlin. (Foty, Don)
                                     (Entered: 03/26/2019)

 03/26/2019                     Ï3   Certificate of Interested Parties by Larry Sanderlin. (Foty, Don) (Entered: 03/26/2019)

 03/27/2019                     Ï4   Summons Issued as to Alpha Services, LLC. (ab1) (Entered: 03/27/2019)

 04/09/2019                     Ï5
             Case 4:19-cv-01760 Document 13 Filed on 05/13/19 in TXSD Page 2 of 2
                           SUMMONS Returned Executed by Larry Sanderlin. Alpha Services, LLC served on
                           4/5/2019, answer due 4/26/2019. (Foty, Don) (Entered: 04/09/2019)

04/27/2019           Ï6    MOTION to Transfer Case to First−Filed Court by Alpha Services, LLC.
                           (Attachments: # 1 Exhibit A, # 2 Proposed Order)(Karns, Amber) (Entered:
                           04/27/2019)

04/27/2019           Ï7    ANSWER to 1 Complaint with Jury Demand Subject to Defendant's Motion to
                           Transfer to First−Filed Court. Attorney Amber Lea Karns added to party Alpha
                           Services, LLC(pty:dft) by Alpha Services, LLC.(Karns, Amber) (Entered: 04/27/2019)

04/27/2019           Ï8    NOTICE of Related Case by Alpha Services, LLC (Karns, Amber) (Entered:
                           04/27/2019)

04/27/2019           Ï9    Certificate of Interested Parties Subject to Defendant's Motion to Transfer to
                           First−Filed Court by Alpha Services, LLC. (Karns, Amber) (Entered: 04/27/2019)

05/06/2019          Ï 10   NOTICE of Non−Opposition by Larry Sanderlin re 6 MOTION to Transfer Case to
                           First−Filed Court (Foty, Don) (Entered: 05/06/2019)

05/09/2019          Ï 11   ORDER GRANTING 6 Motion to Transfer Case to the Southern District of Texas,
                           Houston Division Signed by Judge David Counts. (ab1) (Entered: 05/10/2019)

05/09/2019          Ï 12   FINAL ORDER OF TRANSFER to United States District Court for the Southern
                           District of Texas, Houston Division.. Signed by Judge David Counts. (ab1) (Entered:
                           05/10/2019)
